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 1 ERIC P. ISRAEL (State Bar No. 132426)
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   Telephone: (310) 277-0077
 5 Facsimile: (310) 277-5735

 6 Attorneys for Jeffrey I. Golden,
   Chapter 7 Trustee
 7

 8                               UNITED STATES BANKRUPTCY COURT
 9                                CENTRAL DISTRICT OF CALIFORNIA
10                                         SANTA ANA DIVISION
11

12 In re                                                    Case No. 8:21-bk-11710-SC

13 JAMIE LYNN GALLIAN,                                      Chapter 7

14                                                          TRUSTEE’S OBJECTION TO DEBTOR’S
                                                            NOTICE OF LODGMENT OF ORDER
15                     Debtor.                              AND FORM OF AMENDED - ORDER
                                                            DENYING CHAPTER 7 TRUSTEE
16                                                          JEFFREY I GOLDEN’S APPLICATION
                                                            OF THE CHAPTER 7 TRUSTEE TO
17                                                          EMPLOY REAL ESTATE BROKER
                                                            COLDWELL BANKER REALTY AND
18                                                          AGENTS WILLIAM FRIEDMAN AND
                                                            GREG BINGHAM PURSUANT TO 11
19                                                          U.S.C. §§ 327 AND 328
20                                                          Date:       September 13, 2022
                                                            Time:       11:00 a.m.
21                                                          Place:      Courtroom “5C”
                                                                        411 W. 4th Street
22                                                                      Santa Ana, California 92701

23

24            Jeffrey I. Golden, the Chapter 7 Trustee (the “Trustee”) for the bankruptcy estate of Jamie

25 Lynn Gallian (the “Debtor), hereby objects to the form of Debtor’s proposed Order (the “Proposed

26 Order”) attached to the Notice of Lodgment of Order (docket no. 230) (the “Notice of Lodgment”),

27 denying the Trustee’s Application to Employ Real Estate Broker Coldwell Banker Realty and

28 Agents William Friedman And Greg Bingham Pursuant to 11 U.S.C. §§ 327 and (docket no. 162)

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 1 (the “Application”). A copy of the Proposed Order lodged by the Debtor is attached as Exhibit “1”

 2 hereto. The Trustee objects to the form of Proposed Order as follows:

 3            1.       The Court’s order should only reflect the Court’s ruling in relation to the underlying

 4 Application – which was to deny the Application, without prejudice. Here, however, the Proposed

 5 Order includes a recitation of facts, purported statements and arguments, and exhibits that were not

 6 part of the Court’s ruling and that the Court did not authorize to be included in its order on the

 7 Application. In addition, although not appropriate to include in any order, the Court simply did not

 8 recite any facts, make any factual findings, or reference any separate authority as part of its ruling.

 9 It also did not ask the Debtor to prepare the Proposed Order or, particularly, to include any facts,

10 findings, or authority in the Proposed Order. The Court’s official record, not the order, reflects

11 what occurred at the hearing.

12            2.       The Proposed Order improperly includes exhibits not authorized by the Local Rules.

13 See LBR 9021-1(a).

14            3.       The Proposed Order does not accurately reflect who appeared at the hearing for the

15 Trustee. The Proposed Order incorrectly states that Mr. Israel appeared at the hearing. However, it

16 was Aaron E. de Leest that appeared for the Trustee, not Mr. Israel.

17            Wherefore, in light of the above objections, the Trustee respectfully requests that the Court

18 not enter the Proposed Order lodged by the Debtor, and, instead, enter the form of order lodged by

19 the Trustee, a copy of which is attached as Exhibit “2” hereto.

20

21 DATED: September 20, 2022                       DANNING, GILL, ISRAEL & KRASNOFF, LLP

22

23
                                                   By:          /s/ Aaron E. de Leest
24                                                       AARON E. DE LEEST
                                                         Attorneys for Jeffrey I. Golden, Chapter 7 Trustee
25

26

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 1 JAMIE LYNN GALLIAN
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 2 Huntington Beach, CA 92649
   (714)321-3449
 3 jamiegallian@gmail.com

 4 IN PRO PER

 5

 6                              UNITED STATES BANKRUPTCY COURT
 7                 CENTRAL DISTRICT OF CALIFORNIA – SANTA ANA DIVISION
 8   In re                                               Case No. 8:21-bk-11710-SC
 9   JAMIE LYNN GALLIAN,                                 Hon. Scott C. Clarkson
10                   Debtor.                             Chapter 7
11                                                       AMENDED - ORDER DENYING
                                                         CHAPTER 7 TRUSTEE JEFFREY I
12                                                       GOLDEN’S APPLICATION OF THE
                                                         CHAPTER 7 TRUSTEE TO EMPLOY
13                                                       REAL ESTATE BROKER COLDWELL
                                                         BANKER REALTY AND AGENTS
14                                                       WILLIAM FRIEDMAN AND GREG
                                                         BINGHAM PURSUANT TO 11 U.S.C. §§
15                                                       327 AND 328; MEMORANDUM OF
                                                         POINTS AND AUTHORITIES; AND
16                                                       DECLARATIONS OF WILLIAM
                                                         FRIEDMAN AND GREG BINGHAM IN
17                                                       SUPPORT [DOC 162]
18                                                       HEARING DATE
                                                         Date: September 13, 2022
19                                                       Time: 11:00 a.m.
                                                         Ctrm: 5C VIA ZOOMGOV
20                                                       Address: 411 W. Fourth Street
                                                         Santa Ana, CA 92701
21
             TO THE HONORABLE SCOTT C. CLARKSON, UNITED STATES BANKRUPTCY
22
     JUDGE, AND ALL INTERESTED PARTIES:
23
             On July 28, 2022, Chapter 7 Trustee, Jeffrey I. Golden, (“Trustee”) filed “APPLICATION
24
     TO EMPLOY REAL ESTATE BROKER COLDWELL BANKER REALTY AND AGENTS
25
     WILLIAM FRIEDMAN AND GREG BINGHAM PURSUANT TO 11 U.S.C. §§ 327 AND 328;
26
     MEMORANDUM OF POINTS AND AUTHORITIES; AND DECLARATIONS OF WILLIAM
27

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 1 FRIEDMAN AND GREG BINGHAM IN SUPPORT” [DOC 162]. The Motion was set for hearing

 2 on September 13, 2022, at 11:00 a.m. [DOC NO. 195]

 3
            On August 30, 2022, Jamie Lynn Gallian (“DEBTOR”) filed “OPPOSITION TO
 4
     APPLICATION OF THE CHAPTER 7 TRUSTEE TO EMPLOY REAL ESTATE BROKER
 5
     COLDEWELL BANKER REALTY AND AGENTS WILLIAM FRIEDMAN AND GREG
 6
     BINGHAM PURSUANT TO 11 U.S.C. §§327 AND 328; DOC 128; DECLARATION JAMIE
 7
     LYNN GALLIAN ISO OF OPPOSITION. (“OPPOSITION”) [DOC 208].
 8
            On September 7, 2022, Statement 218, The Huntington Beach Gables Homeowners
 9
     Association Joinder to Trustee’s Reply in Support of Application to Employ Real Estate Broker.
10
     [DOC 221].
11
            On September 13, 2022, at 11:00 a.m. the Court conducted a hearing on the Application of
12
     the Chapter 7 Trustee to Employ Real Estate Broker Coldwell Banker Realty and Agents William
13
     Friedman and Greg Bingham pursuant to 11 U.S.C. §§327 and 328.
14
            Before September 13, 2022, at 11:00 a.m., the Court published a tentative ruling. A true and
15
     correct copy of the Court’s tentative ruling for the September 13, 2022, hearing is attached as
16
     EXHIBIT 1.
17
            On September 13, 2022, at 11:00 a.m. the Court held a hearing on the Trustee’s Application.
18
     [DOC 162]. Appearances were as noted on the record.
19
            During the hearing, all parties were given an opportunity to be heard. The Court having read
20
     and considered the Trustee’s Application, argument presented by the Trustee’s Counsel, Eric Israel;
21
     argument presented by Jamie Lynn Gallian (“Debtor”) in support of Opposition to Trustee’s
22
     Application; and argument presented by Joinder Huntington Beach Gables Homeowners Association
23
     (“Gables HOA”) Attorney Robert Goe.
24
             Attorney Goe presented argument concerning debtors denied homestead exemption [DOC
25
     177], citing In re Schaefers, 623 B.R. 777 (B.A.P. 9th Cir. 2020) to the Court.
26
            The Honorable Scott C Clarkson addressed Attorney Goes’ argument and discussed a recent
27
     unpublished opinion by the Ninth District Court. See Footnote 1.
28
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 1         On August 31, 2022, The Ninth Circuit filed MEMORANDUM No. 20-60055.
 2         The relevant portion to the Debtor’s bankruptcy case at bar, page 3, of the Ninth Circuit
 3 Memorandum No. 60055……”the published decision of the Bankruptcy Appellate Panel Order of

 4 the bankruptcy court sustaining the objection to the claimed homestead exemption, In re Bernd

 5 Schaefers [Dkt. No. 143], Case No. 9:19-bk-11163-MB (Bank. C.D. Cal. Mar. 18, 2020) are

 6 VACATED”. EXHIBIT 2

 7         After all arguments were addressed by the Court, all other pleadings and papers filed in this
 8 case considered, and having heard the arguments made on the record during the September 13, 2022,

 9 hearing, the Court enters its order as follows:

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17 _______________________
   Foot Note 1
18 Ninth Circuit Rule 36-3. Citation of Unpublished Dispositions or Orders
       Not Precedent. Unpublished dispositions and orders of this Court are not precedent, except when
19 (a) relevant under the doctrine of law of the case or rules of claim preclusion or issue preclusion.
       Citation of Unpublished Dispositions and Orders Issued on or after January 1, 2007.
20
       Unpublished dispositions and orders of this Court issued on or after January 1, 2007 may be cited
21 (b) to the courts of this circuit in accordance with FRAP 32.1.
       Citation of Unpublished Dispositions and Orders Issued before January 1, 2007.
22     Unpublished dispositions and orders of this Court issued before January 1, 2007 may not be cited
   (c)to the courts of this circuit, except in the following circumstances.
23 (i) They may be cited to this Court or to or by any other court in this circuit when relevant under the

24 doctrine of law of the case or rules of claim preclusion or issue preclusion.
   (ii) They may be cited to this Court or by any other courts in this circuit for factual purposes, such as
25 to show double jeopardy, sanctionable conduct, notice, entitlement to attorneys’ fees, or the
   existence of a related case.
26 (iii) They may be cited to this Court in a request to publish a disposition or order made pursuant to
   Circuit Rule 36-4, or in a petition for panel rehearing or rehearing en banc, in order to demonstrate
27 the existence of a conflict among opinions, dispositions, or orders.

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 1        IT IS ORDERED that Chapter 7 Trustee’s Application to Employ Real Estate Broker
 2 Coldwell Banker Realty and Agents William Friedman and Greg Bingham pursuant to 11 U.S.C.

 3 §§327 and 328 is DENIED WITHOUT PREJUDICE.

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22        Date: September _____, 2022       _________________________________
                                            Scott C. Clarkson
23
                                            United States Bankruptcy Judge
24

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                               EXHIBIT 2
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 6 Attorneys for Jeffrey I. Golden,
   Chapter 7 Trustee
 7

 8                               UNITED STATES BANKRUPTCY COURT
 9                                CENTRAL DISTRICT OF CALIFORNIA
10                                        SANTA ANA DIVISION
11

12 In re                                                  Case No. 8:21-bk-11710-SC

13 JAMIE LYNN GALLIAN,                                    Chapter 7

14                                                        ORDER DENYING APPLICATION OF
                                                          THE CHAPTER 7 TRUSTEE TO
15                     Debtor.                            EMPLOY REAL ESTATE BROKER
                                                          COLDWELL BANKER REALTY AND
16                                                        AGENTS WILLIAM FRIEDMAN AND
                                                          GREG BINGHAM PURSUANT TO 11
17                                                        U.S.C. §§ 327 AND 328 WITHOUT
                                                          PREJUDICE
18
                                                          Date:       September 13, 2022
19                                                        Time:       11:00 a.m.
                                                          Place:      Courtroom “5C”
20                                                                    411 W. 4th Street
                                                                      Santa Ana, California 92701
21

22            On September 13, 2022 at 11:00 a.m., there came before the United States Bankruptcy
23 Court for the Central District of California, Santa Ana Division, the Honorable

24 Scott C. Clarkson, United States Bankruptcy Judge, presiding, a hearing on the Trustee’s

25 Application to Employ Real Estate Broker Coldwell Banker Realty and Agents William Friedman

26 and Greg Bingham Pursuant to 11 U.S.C. §§ 327 and 328 (docket no. 162) (the “Application”)

27 filed by Jeffrey I. Golden, Chapter 7 Trustee (the “Trustee”). Aaron E. de Leest of Danning, Gill,

28 Israel & Krasnoff, LLP, appeared for the Trustee, who also appeared. Robert P. Goe of Goe

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                                                                          EXHIBIT 2             18
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 1 Forsythe & Hodges LLP, appeared for Huntington Beach Gables Homeowners Association. The

 2 Debtor appeared in pro per. There were no other appearances.

 3            The Court having read and considered the Application, the Debtor’s opposition to the

 4 Application (docket no. 208), the Trustee’s reply to the Debtor’s opposition (docket no. 219), and

 5 the HOA’s joinder in the Trustee’s reply (docket no. 221), having heard the oral statements of the

 6 Debtor, the Trustee, and counsel at the hearing, and for the reasons set forth by the Court on the

 7 record at the hearing, it is hereby

 8            ORDERED THAT:

 9            1.       The Application is denied, without prejudice.
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      Case 8:21-bk-11710-SC                   Doc 232 Filed 09/20/22 Entered 09/20/22 18:17:22                                       Desc
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                                     PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is 1901
Avenue of the Stars, Suite 450, Los Angeles, CA 90067-6006.

A true and correct copy of the foregoing document entitled (specify): TRUSTEE’S OBJECTION TO DEBTOR’S
NOTICE OF LODGMENT OF ORDER AND FORM OF AMENDED - ORDER DENYING CHAPTER 7 TRUSTEE
JEFFREY I GOLDEN’S APPLICATION OF THE CHAPTER 7 TRUSTEE TO EMPLOY REAL ESTATE BROKER
COLDWELL BANKER REALTY AND AGENTS WILLIAM FRIEDMAN AND GREG BINGHAM PURSUANT TO 11
U.S.C. §§ 327 AND 328 will be served or was served (a) on the judge in chambers in the form and manner required by
LBR 5005-2(d); and (b) in the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On
(date) September 20, 2022 I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and
determined that the following persons are on the Electronic Mail Notice List to receive NEF transmission at the email
addresses stated below:



                                                                                    Service information continued on attached page.

2. SERVED BY UNITED STATES MAIL: On September 20, 2022 , I served the following persons and/or entities at
the last known addresses in this bankruptcy case or adversary proceeding by placing a true and correct copy thereof in
a sealed envelope in the United States mail, first class, postage prepaid, and addressed as follows. Listing the judge
here constitutes a declaration that mailing to the judge will be completed no later than 24 hours after the document is
filed.



                                                                                    Service information continued on attached page.

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state
method for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on
(date)                     , I served the following persons and/or entities by personal delivery, overnight mail service,
or (for those who consented in writing to such service method), by facsimile transmission and/or email as follows.
Listing the judge here constitutes a declaration that personal delivery on, or overnight mail to, the judge will be
completed no later than 24 hours after the document is filed.



                                                                                    Service information continued on attached page.

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.



 September 20, 2022                      Beverly Lew                                           /s/ Beverly Lew
 Date                                    Printed Name                                          Signature




        This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

June 2012                                                                                    F 9013-3.1.PROOF.SERVICE
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                                             ADDITIONAL SERVICE INFORMATION (if needed):


1. SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (“NEF”)
Aaron E DE Leest on behalf of Trustee Jeffrey I Golden (TR)
adeleest@DanningGill.com, danninggill@gmail.com;adeleest@ecf.inforuptcy.com

Robert P Goe on behalf of Creditor The Huntington Beach Gables Homeowners Association
kmurphy@goeforlaw.com, rgoe@goeforlaw.com;goeforecf@gmail.com

Robert P Goe on behalf of Plaintiff The Huntington Beach Gables Homeowners Association
kmurphy@goeforlaw.com, rgoe@goeforlaw.com;goeforecf@gmail.com

Jeffrey I Golden (TR)       lwerner@go2.law, jig@trustesolutions.net;kadele@go2.law

D Edward Hays on behalf of Creditor Houser Bros. Co. dba Rancho Del Rey Mobile Home Estates
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ehays@ecf.courtdrive.com;kfrederick@ecf.courtdrive.com;cmendoza@marshackhays.com;cmendoza@ecf.courtdrive.com

D Edward Hays on behalf of Interested Party Courtesy NEF
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ehays@ecf.courtdrive.com;kfrederick@ecf.courtdrive.com;cmendoza@marshackhays.com;cmendoza@ecf.courtdrive.com

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ehays@ecf.courtdrive.com;kfrederick@ecf.courtdrive.com;cmendoza@marshackhays.com;cmendoza@ecf.courtdrive.com

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biskander@goeforlaw.com, kmurphy@goeforlaw.com

Brandon J Iskander on behalf of Plaintiff The Huntington Beach Gables Homeowners Association
biskander@goeforlaw.com, kmurphy@goeforlaw.com

Eric P Israel on behalf of Trustee Jeffrey I Golden (TR)
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Laila Masud on behalf of Creditor Houser Bros. Co. dba Rancho Del Rey Mobile Home Estates
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Laila Masud on behalf of Interested Party Courtesy NEF
lmasud@marshackhays.com, lmasud@ecf.courtdrive.com;kfrederick@ecf.courtdrive.com

Laila Masud on behalf of Plaintiff Houser Bros. Co.
lmasud@marshackhays.com, lmasud@ecf.courtdrive.com;kfrederick@ecf.courtdrive.com

Mark A Mellor on behalf of Defendant Randall L Nickel
mail@mellorlawfirm.com, mellormr79158@notify.bestcase.com

Mark A Mellor on behalf of Interested Party Courtesy NEF
mail@mellorlawfirm.com, mellormr79158@notify.bestcase.com

Valerie Smith on behalf of Interested Party Courtesy NEF             claims@recoverycorp.com

United States Trustee (SA)            ustpregion16.sa.ecf@usdoj.gov
2. SERVED BY U.S. MAIL
Debtor                                          The Honorable Scott C. Clarkson
Jamie Lynn Gallian                              U.S. Bankruptcy Court
16222 Monterey Ln Unit 376                      411 W. Fourth Street, Suite 5130
Huntington Beach, CA 92649                      Santa Ana, CA 92701




        This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

June 2012                                                                                    F 9013-3.1.PROOF.SERVICE
